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Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF LOUISIANA

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                ORX Resources, L.L.C.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  400 Poydras Street
                                  Suite 1100
                                  New Orleans, LA 70130
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Orleans                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




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Debtor    ORX Resources, L.L.C.                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2111

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                             Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                             The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                             Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy
     cases filed by or against
                                        No.
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Attachment                                                  Relationship
                                                 District                                 When                              Case number, if known




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Debtor   ORX Resources, L.L.C.                                                                   Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                 No
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                                                                    5001-10,000                               50,001-100,000
                                 50-99
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




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Debtor    ORX Resources, L.L.C.                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 10, 2019
                                                  MM / DD / YYYY


                             X   /s/ James E. Orth                                                        James E. Orth
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Chief Executive Officer




18. Signature of attorney    X   /s/ Louis M. Phillips                                                     Date May 10, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Louis M. Phillips
                                 Printed name

                                 Kelly Hart & Pitre
                                 Firm name

                                 301 Main Street
                                 Suite 1600
                                 Baton Rouge, LA 70801-1916
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     225-381-9643                  Email address      louis.phillips@kellyhart.com

                                 10505 LA
                                 Bar number and State




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Debtor     ORX Resources, L.L.C.                                                            Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF LOUISIANA

Case number (if known)                                                   Chapter      11
                                                                                                                      Check if this an
                                                                                                                          amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Falcon V Holdings, L.L.C .                                              Relationship to you               affiliate
District   Middle District of Louisiana               When     5/10/19             Case number, if known
Debtor     Falcon V, L.L.C.                                                        Relationship to you               affiliate
District   Middle District of Louisiana               When     5/10/19             Case number, if known




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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF LOUISIANA


IN RE:                                                              CHAPTER 11

ORX RESOURCES, L.L.C.,                                              CASE NO. 19-
                                                                    (JOINTLY ADMINISTERED)
         DEBTOR.


                            LIST OF EQUITY SECURITY HOLDERS 1




Equity Security Holder               Address of Equity Security Holder                Percentage of Shares
                                                                                         or Units Held

                                  400 Poydras Street
ORX Exploration, Inc.
                                  Suite 1100                                                   100%
                                  New Orleans, Louisiana 70130




1
        This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal
Rules of Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11
case.
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                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF LOUISIANA


IN RE:                                                    CHAPTER 11

ORX RESOURCES, L.L.C.,                                    CASE NO. 19-
                                                          (JOINTLY ADMINISTERED)
       DEBTOR.


                         CORPORATE OWNERSHIP STATEMENT


       Pursuant to Federal Rule of Bankruptcy Procedure 1007(a)(1), the following are

corporations, other than a governmental unit, that directly or indirectly own 10% or more of any

class of the Debtor’s equity interests:


Shareholder                                           Percentage of Shares or Units Held


ORX Exploration, Inc.                                                 100%
